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                               Main Document Page 1 of 2


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  5   Attorneys for Defendant
                                                                      CLERK U.S. BANKRUPTCY COURT
                                                                      Central District of California
  6                                                                   BY reid       DEPUTY CLERK


  7                                UNITED STATES BANKRUPTCY COURT
                                                              CHANGES MADE BY COURT
  8                                CENTRAL DISTRICT OF CALIFORNIA
  9                                       SANTA ANA DIVISION
 10
                                                     Case No.: 8:16-bk-10223-ES
 11   In re:
 12                                                  Chapter 7
      KENT W. EASTER,
 13                    Debtor.                       Adv. No.: 8:16-ap-01114-ES
      __________________________________
 14
      KELLI C. PETERS, BILL PETERS, and              ORDER APPROVING STIPULATION
 15   SYDNIE PETERS,                                 BETWEEN PLAINTIFFS AND DEFENDANT
                                                     TO CONTINUE PRETRIAL CONFERENCE
 16                                                  AND DEADLINES
                      Plaintiff,
 17                                                  Pretrial Conference:
      v.                                             Date: August 17, 2017
 18
                                                     Time: 9:30 a.m.
      KENT W. EASTER,                                Ctrm: 5A
 19
 20                   Defendant.                     Proposed Continued Pretrial Conference:
                                                     Date:   November 16, 2017
 21                                                  Time: 9:30 a.m.
                                                     Ctrm.: 5A
 22
 23
 24            Upon consideration of the Stipulation entered into by and among Plaintiff KELLI C.

 25   PETERS, BILL PETERS, and SYDNIE PETERS and defendant KENT W. EASTER by and

 26   through their respective counsel, to continue the Pretrial Conference (“Stiplation”) filed August

 27   14, 2017 as Docket No. 45, and good cause appearing:

 28            IT IS ORDERED:

 29
 30
                                                       1
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  1          1.      The Stipulation is approved;

  2          2.      The Pretrial Conference is continued from August 17, 2017 to November 16,

  3                  2017 at 9:30 a.m.

  4          3.      A Joint Pretrial Stipulation shall be filed by November 2, 2017.

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 24 Date: August 14, 2017
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